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              IN THE UNITED STATES DISTRICT COURT
           FOR THE EASTERN DISTRICT OF PENNSYLVANIA


SUZANNE SOMERS, et al.,                       :           CIVIL ACTION
            Plaintiffs,                       :
                                              :
             v.                               :
                                              :
QVC, INC.,                                    :            NO. 19-cv-04773
                    Defendant.                :

                                     ORDER

      AND NOW, this 10th day of September 2021, upon consideration of

Defendant’s Motion for Relief Under 60B (ECF Nos. 109 and 110) and the Court’s

August 24, 2021 Order denying Defendant’s Motion for Summary Judgment

(ECF No. 105), it is ORDERED that the Motion for Relief Under 60B (ECF Nos.

109 and 110) is DENIED and the Order at ECF No. 105 is hereby AMENDED as

follows:

      Upon consideration of Defendant’s Motion for Partial Summary Judgment

(ECF Nos. 63 and 71), Plaintiffs’ Response in Opposition (ECF No. 84),

Defendant’s Reply (ECF No. 90) and Plaintiffs’ Surreply (ECF Nos. 93), it is

hereby ORDERED that Defendant’s Motion (ECF No. 63) is DENIED as to

Counts I, III, IV, VI, VII, and VIII of the Amended Complaint. At the time of

any Rule 50 motion, these counts will be revisited as to those the Plaintiffs choose

not to withdraw.
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       A decision with an opinion as to Counts V and IX will be issued the week

of September 20, 2021.

       Any confusion caused by a Court order containing an apparent typographical

error when read in the context of the entire order and its obvious implications are

best addressed by reaching out directly to Chambers, rather than through the

presumptive re-filing of essentially the same motion that was just ruled upon in

anticipation for the lead up to trial.



                                                    BY THE COURT:

                                                    /s/ Chad F. Kenney

                                                    CHAD F. KENNEY, JUDGE
